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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS


 R.B.                                                     Case No. 4:19-cv-03004

 Plaintiff,                                               Judge David Hittner

 v.                                                        OPPOSITION TO MOTION TO
                                                           STAY DISCOVERY
 JENNIFER M. SMITH, ET AL.

 Defendants



         Plaintiff R.B. respectfully submits this Opposition to Defendants’ Motion to Stay Discovery.

(Doc#32.) As grounds for this Opposition, Plaintiff states:

         1.     Plaintiff does not contest that a limited stay of discovery as to those matters pertinent

                to the qualified immunity defense may be appropriate. See Lion Boulos v. Wilson, 834

                F.2d 504 (5th Cir. 1987).

         2.     However, Plaintiff has also asserted claims for declaratory and injunctive relief against

                Defendants in their official capacity.       These claims are not subject to qualified

                immunity. Qualified immunity shields government officials from money damages, not

                suits for injunctive or declaratory relief. Davis v. Lensing, 139 F.3d 899 (5th Cir. 1998),

                citing Chrissy F. by Medley v. Mississippi Dep't of Pub. Welfare, 925 F.2d 844, 849 (5th Cir.

                1991); Yates v. Stalder, 217 F.3d 332, 333 n. 2 (5th Cir. 2000) (“We note that qualified

                immunity is not a defense to Plaintiff's claims for declaratory and injunctive relief.”).

                The Fifth Circuit has held that “neither sovereign nor qualified immunity prevent [a

                plaintiff] from pursuing declaratory and injunctive relief against. . .state officials.”

                Mayfield v. Texas Dep't Of Criminal Justice, 529 F.3d 599, 606 (5th Cir. 2008).



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        3.      Accordingly, this Court should not stay discovery on issues related to Plaintiff’s claims

                for declaratory and injunctive relief. Defendants’ interest in avoiding the burden of

                discovery is minimal, since the qualified immunity motion will not lead to the

                resolution of this case and Defendants will inevitably have to respond to discovery on

                these issues.1 Instead, a stay of discovery that encompasses Plaintiff’s claims for

                declaratory and injunctive relief will only serve to delay the resolution of this matter.

                This would prejudice Plaintiff. See Thomas v. City of Benoit, N.D.Miss. No. 4:18-cv-

                00115-GHD-JMV, 2018 U.S. Dist. LEXIS 183355, at *7 (Oct. 24, 2018)(Plaintiffs

                have a legitimate interest in the expeditious resolution of their case.”), quoting Plumbers

                & Pipefitters Natl. Pension Fund v. Transworld Mechanical, 886 F.Supp. 1134, 1140

                (S.D.N.Y.1995).

        Wherefore, the Court should deny the Motion to Stay Discovery as to Plaintiff’s claims for

declaratory and injunctive relief.




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  Defendants claim to be concerned about “two rounds of discovery.” This is not necessarily an
inevitable result, as the issues surrounding the individual capacity and official capacity claims are
distinct. The individual capacity claims concern how Plaintiff was treated. The official capacity
claims concern broader policies and practices at Texas A&M.

Regardless, an easy solution to this concern is to not stay discovery at all. This is Defendants’
choice, however. Defendants could withdraw this Motion and allow discovery on all claims to
proceed at the same time. It is also possible – since the Motion to Dismiss has not, yet, been filed,
that factual development will be required in order for the Court to determine whether qualified
immunity is applicable. In that situation, Plaintiff may seek limited discovery on the issue of the
qualified immunity claim, anyway. Schultea v. Wood, 47 F.3d 1427, 1434 (5th Cir. 1995)
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                                                       Respectfully submitted,

                                                         /s/ Joshua A. Engel
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                                 CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing has been electronically served via the ECF system this
October 18, 2019 upon all counsel of record.


       /s/ Joshua Engel




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